DOCUMENTS UNDER SEAL
                    Case 3:21-cr-00274-CRB Document 22 Filed 07/30/21 Page 17of 1
                                                          TOTAL TIME (m ins):
M AGISTRATE JUDGE                       DEPUTY CLERK                               REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Stephen Ybarra                             10:30 - 10:37
MAGISTRATE JUDGE                        DATE                                       NEW CASE         CASE NUMBER
Alex G. Tse                             July 30, 2021                                               3:21-cr-00274-CRB-1
                                                    APPEARANCES
DEFENDANT                                AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Ian Benjamin Rogers                      45       Y       P       Kellin Cooper                           APPT.
U.S. ATTORNEY                            INTERPRETER                              FIN. AFFT             COUNSEL APPT'D
Frank Riebli                            n/a                                       SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR                 PARTIAL PAYMENT
                           Sean Hamel                             APPT'D COUNSEL                   OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                            TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING             IA REV PROB. or           OTHER
                                                                                  or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.              ATTY APPT
                                                                                                            HEARING
                                                   INITIAL APPEARANCE
        ADVISED                ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON            READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT              SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY       SPECIAL NOTES                  PASSPORT
      ON O/R            APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED        RELEASED       DETENTION HEARING               REMANDED
      FOR             SERVICES                                               AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                          PLEA
   CONSENT                    NOT GUILTY                 GUILTY                     GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA             PLEA AGREEMENT             OTHER:
   REPORT ORDERED                                        FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                     STATUS RE:
8/18/21                          HEARING                 HEARING                  CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.           PRELIMINARY              CHANGE OF              STATUS
                                 AFFIDAVIT               HEARING                  PLEA
9:00 AM                                                  _____________
BEFORE HON.                      DETENTION               ARRAIGNMENT              MOTIONS                 JUDGMENT &
                                 HEARING                                                                  SENTENCING
CRB
       TIME W AIVED              TIME EXCLUDABLE         IDENTITY /               PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC          REMOVAL                  CONFERENCE              HEARING
                                 3161                    HEARING
                                               ADDITIONAL PROCEEDINGS
Defendant consents to proceed by video. DPPA advised. The Court excludes time until 8/18/2021. The Court orders that
Defendant be made available for the court appearance set for 8/18/21.

cc: CRB                                                                                DOCUMENT NUMBER:
